UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MISSOURI

EASTERN DIVISION
PHILLIP DEWAYNE STEWART, )
Plaintiff,
v. 5 No, 4:21-CV-6 DDN
OFFICER JOHNSON, 5
Defendant.

MEMORANDUM AND ORDER

This matter is before the Court upon its own motion. Self-represented, prisoner plaintiff
filed this civil action for money damages on January 4, 2021. However, plaintiff neither paid the
$400 court filing fee nor filed a motion to proceed in forma pauperis (or without prepayment of
fees or costs), along with a certified copy of his prison account statement. See 28 U.S.C, § 1915(a).
As such, the Court will allow plaintiff twenty-one (21) days to either pay the full filing fee or file
his motion to proceed in forma pauperis and account statement. His failure to do so in a timely
manner will result in a dismissal of this action, without prejudice.

Accordingly,

IT IS HEREBY ORDERED that the Clerk is directed to mail to plaintiff a copy of the
motion to proceed in forma pauperis form for prisoners.

IT IS FURTHER ORDERED that plaintiff must cither pay the $400 filing fee or submit
a motion to proceed in forma pauperis within twenty-one (21) days of the date of this Order.

IT IS FURTHER ORDERED that if plaintiff files a motion to proceed in forma pauperis,
he must also file a certified copy of his prison account statement for the six-month period preceding

the filing of the complaint.

 
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IT IS FINALLY ORDERED that if plaintiff fails to comply with this Order, the Court
will dismiss this action without prejudice. If the case is dismissed for non-compliance with this

Order, the dismissal will not count as a “strike” under 28 U.S.C. § 1915(g).

Dated thish- ath, of January, 2021.
acd

DAVID D. NOCE
UNITED STATES MAGISTRATE JUDGE

 

 
